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UNITED STATES DISTRICT COURT

DISTRICT OF MAINE
UNITED STATES OF AMERICA ee
No. 1:24-cr-00103-SDN
Me 2004 OCT -3 A th 43:
WADE WILLETTE

PRELIMINARY ORDER OF FORFEITURE
Fed. R. Crim.P. 32.2(b)

IT IS HEREBY ORDERED THAT:

1. As the result of the defendant’s guilty plea to Count One of the
Information charging violations of 18 U.S.C. §§ 2252A(a)(5)(B), 2256(8)(A), and
2252A(b)(2), and for which the United States sought forfeiture pursuant to 18 U.S.C. §
2253, the defendant shall forfeit to the United States: (1) any visual depiction or other
matter containing such visual depiction or image of child pornography that was
possessed as alleged in Count One; and (2) any property, real or personal, used or
intended to be used to commit or to promote the commission of the offense alleged in
Count One including, but not limited to:

a. An Apple iPhone 13 Pro with serial number HWVF42WKKX
(“the Property”).

2, The Court has determined, based on the defendant's plea and evidence
already in the record, that the defendant has an interest in the Property, that the
government has established the requisite nexus between such Property and the offense,
and that the Property is subject to forfeiture.

3, Upon the entry of this Order, the United States is authorized to seize the

Property, whether held by the defendant or by a third party, and to conduct discovery
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proper in identifying, locating, or disposing of the Property subject to forfeiture, in
accordance with Fed.R.Crim.P. 32.2(b)(3).

4. Upon the entry of this Order, the United States is authorized to commence
any applicable proceeding to comply with the statutes governing third-party rights,
including giving notice of this Order.

5. The United States shall publish notice of the Order and its intent to
dispose of the Property in such manner as the United States may direct. The United
States may, to the extent practicable, provide written notice to any person known to
have an alleged interest in the Property.

6. Any person, other than the defendant, asserting a legal interest in the
Property may, within 30 days of the final publication of notice or receipt of notice,
whichever is earlier, petition the Court for a hearing without a jury to adjudicate the
validity of his/her alleged interest in the Property.

i, Any petition filed by a third party asserting an interest in the Property
shall be signed by the petitioner under penalty of perjury and shall set forth the nature
and extent of the petitioner's right, title, or interest in the Property, the time and
circumstances of the petitioner's acquisition of the right, title, or interest in the
Property, and any additional facts supporting the petitioner's claim and the relief
sought.

8. After the disposition of any motion filed under Fed.R.Crim.P. 32.2(c)(1)(A)
and before a hearing on the petition, discovery may be conducted in accordance with the
Federal Rules of Civil Procedure upon a showing that such discovery is necessary or

desirable to resolve factual issues.
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9. The United States shall have clear title to the Property following the
Court's disposition of all third-party interests or, if none, following the expiration of the
period provided in 21 U.S.C. § 853(n)(2), as incorporated by 18 U.S.C. § 2253(b), for the
filing of third-party petitions.

10. Pursuant to Rule 32.2(b)(4), the Order of Forfeiture shall become final as
to the defendant at the time of sentencing or before sentencing if the defendant
consents, and shall be made part of the sentence and included in the judgment.

11... The Court shall retain jurisdiction in this case for the purpose of enforcing
this Order and to amend it as necessary, pursuant to Fed.R.Crim.P. 32.2(e).

SO ORDERED,

DATED: ; A\) | (aay) fe
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U.S. District Judge
